                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

UNITED STATES OF AMERICA,
              Plaintiff,                           No. 09-CR-4045-DEO
vs.                                         ORDER
                                    ACCEPTING REPORT AND
THOMAS POWELL, a/k/a Tommy,
                                 RECOMMENDATION CONCERNING
         Defendant.                      GUILTY PLEA
                    ____________________

                      I.   INTRODUCTION AND BACKGROUND

      On December 16, 2009, a one count Superseding Indictment

(Docket No. 136) was returned in the above-referenced case.

      Count     1    of    the   Superseding     Indictment      charges      that

between about January 2007 and continuing through August 2009,

in the Northern District of Iowa, defendant Thomas Powell,

a/k/a Tommy, and other named defendants, did knowingly and

unlawfully combine, conspire, confederate, and agree with each

other and with other persons, and known and unknown to the

Grand Jury,

      1.   to manufacture 500 grams or more of a mixture or

           substance         containing      a     detectable        amount        of

           methamphetamine, a Schedule II controlled substance,

           or        50     grams     or    more      of      actual      (pure)

           methamphetamine, a Schedule II controlled substance,



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          in   violation       of       Title       21,     United     States     Code,

          Sections 841(a)(1), 841(b)(1)(A), 851, and;

    2.    to manufacture 50 grams or more of a mixture or

          substance     containing              a     detectable           amount        of

          methamphetamine, a Schedule II controlled substance,

          or 5 grams or more of actual (pure) methamphetamine,

          a Schedule II controlled substance, in violation of

          Title 21, United States Code, Sections 841(a)(1) and

          841(b)(1)(B), 851, and

    This was in violation of Title 21, United States Code,

Section 846.
                                    1
    On December 15, 2009,                defendant Thomas Powell, a/k/a

Tommy, appeared before Chief United States Magistrate Judge

Paul A. Zoss and entered a plea of guilty to Count 1 of the



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      This Court notes that Defendant Powell entered his plea
of guilty on December 15, 2009, prior to the date the
Superseding Indictment was filed, December 16, 2009. However,
United States Magistrate Judge Paul A. Zoss entered an Order
on December 30, 2009 (Docket No. 183), setting out that the
Plaintiff indicated in its Statement Pursuant To Local
Criminal Rule 7 (Docket No. 146) that the only change between
the original Indictment and the Superseding Indictment is the
addition of a new defendant in Count 1.      Accordingly, the
Court ordered that the guilty plea entered by Thomas Powell to
the Indictment is also applicable to the Superseding
Indictment.

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Indictment. In the Report and Recommendation and supplemental

Order (Docket Nos. 129, 12/15/2009; and Docket No. 183,

12/30/2009), Chief United States Magistrate Judge Paul A. Zoss

recommends that defendant Thomas Powell’s guilty plea be

accepted.       No   objections    to   Judge     Zoss’s       Report    and

Recommendation and supplemental Order were filed.               The Court,

therefore, undertakes the necessary review to accept defendant

Thomas Powell’s plea in this case.

                           II.    ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

            A judge of the court shall make a de novo
            determination of those portions of the
            report or specified proposed findings or
            recommendations to which objection is made.
            A judge of the court may accept, reject, or
            modify, in whole or in part, the findings
            or recommendations made by the magistrate
            [judge].

28 U.S.C. § 636(b)(1).         Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

            The district judge to whom the case is

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             assigned shall make a de novo determination
             upon the record, or after additional
             evidence, of any portion of the magistrate
             judge’s disposition to which specific
             written   objection   has   been   made  in
             accordance with this rule.     The district
             judge may accept, reject, or modify the
             recommendation decision, receive further
             evidence, or recommit the matter to the
             magistrate judge with instructions.

FED. R. CIV. P. 72(b).

       In this case, no objections have been filed, and it

appears to the Court upon review of Chief Magistrate Judge

Zoss’s findings and conclusions that there are no grounds to

reject or modify them.

       IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief     Magistrate    Judge      Zoss’s      Report    and    Recommendation

(Docket No. 129), and accepts defendant Thomas Powell’s plea

of    guilty    in   this   case    to       Count   1   of    the    Superseding

Indictment filed on December 16, 2009, (Docket No. 136).

       IT IS SO ORDERED this 11th day of February, 2010.


                                     __________________________________
                                     Donald E. O’Brien, Senior Judge
                                     United States District Court
                                     Northern District of Iowa




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